                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

 LATASHA MONROE,                                 )
                                                 )
                        Plaintiff,               )
                                                 )
 v.                                              )         Case No. 2:23-CV-04129-BCW
                                                 )
 TREVOR FOLEY, et al.,                           )
                                                 )
                       Defendant.                )

                                            ORDER
       Before the Court is the parties’ joint motion for a third amended scheduling and jury trial

order. (Doc. # 117). The Court, being duly advised of the premises, grants said motion. The parties

seek to extend the to amend pleadings, designate experts, and the close of discovery for 30 days.

The extension of these deadlines does not impact the dispositive motion deadline or trial date.

Accordingly, it is hereby

       ORDERED The deadlines to amend pleadings, designate experts, and close discovery is

extended 30 days from the date of this Order..

       IT IS SO ORDERED.

Dated: May 28, 2025                              /s/ Brian C. Wimes
                                                 JUDGE BRIAN C. WIMES
                                                 UNITED STATES DISTRICT COURT




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